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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     CARNEGIE MELLON UNIVERSITY,                        Case No. 18-cv-04571-JD
                                                       Plaintiff,
                                   8
                                                                                            FOURTH AMENDED SCHEDULING
                                                 v.                                         ORDER
                                   9

                                  10     LSI CORPORATION, et al.,                           Re: Dkt. No. 182
                                                       Defendants.
                                  11

                                  12          At the parties’ joint request, Dkt. No. 182, and for good cause shown, the Court sets the
Northern District of California
 United States District Court




                                  13   following amended case management deadlines:

                                  14    Event                             Current Deadline                   Amended Deadline
                                        Patent L.R. 4-6: Claim            Tutorial: TBD                      No change
                                  15    construction hearing and          Claim construction: TBD
                                        tutorial
                                  16    Patent L.R. 3-7: Advice of        30 days after service of Court’s   No change
                                        counsel                           claim construction ruling
                                  17    Close of fact discovery           August 27, 2020                    September 28, 2020
                                        Expert disclosure (initial)       October 8, 2020                    November 9, 2020
                                  18    Expert disclosure (rebuttal)      November 12, 2020                  December 17, 2020
                                        Reply expert reports              December 17, 2020                  January 28, 2021
                                  19    Close of expert discovery         January 29, 2021                   March 5, 2021
                                        Last day to file Daubert and      April 1, 2021                      May 3, 2021
                                  20    summary judgment motions
                                        Final pretrial conference         TBD                                No change
                                  21    Trial                             TBD                                No change
                                  22

                                  23          IT IS SO ORDERED.

                                  24   Dated: August 6, 2020

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                                                                                                    JAMES DONATO
                                  27                                                                United States District Judge
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